
*338MEMORANDUM
BY THE COURT.
The court’s conclusion is based upon the considerations:
(1) That the jurisdiction of the Court of Claims in cases such as this is conferred by section 3 of the Federal control act, 40 Stat. 451. It provides for action by a board of *339referees and authorizes an agreement by the President with the carrier, and “ failing such agreement ” suit may be brought to determine the amount of just compensation. In the suit thus authorized the report of the referees is prima facie evidence of the amount of compensation and of the facts stated therein. The facts averred in the petition fail to show that the condition precedent contemplated by the statute has been complied with so as to bring the case within the jurisdiction of this court.
(2) That if the court have jurisdiction, the agreement, Exhibit A to the petition, concludes any rights the plaintiff might otherwise have.
